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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                           CASE NO: 3:08-cr-217-J-32JRK

DERREK OWENS                                 ORDER ON MOTION FOR
                                             SENTENCE REDUCTION UNDER
                                             18 U.S.C. § 3582(c)(1)(A)


                                     ORDER

       Upon motion of      the defendant     the Director of the Bureau of Prisons for

a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the

applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

     DENIED after complete review of the motion on the merits. 1

           FACTORS CONSIDERED

       Defendant Derrek Owens is a 37-year-old inmate incarcerated at Manchester

FCI, serving a 180-month term of imprisonment for possession of a firearm by an

armed career criminal. (Doc. 39, Judgment). According to the Bureau of Prisons

(BOP), he is scheduled to be released from prison on October 16, 2021. Defendant

seeks compassionate release because of the Covid-19 pandemic and because he has

asthma. (Doc. 60, Motion). The United States has responded. (Doc. 62).



1     For purposes of this Order, the Court assumes that Defendant has satisfied §
3582(c)(1)(A)’s exhaustion requirement.
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      A movant for compassionate release bears the burden of proving that a

reduction in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-

33SPF, 2019 WL 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the

burden of proving that a sentence reduction is appropriate). As the Third Circuit

Court of Appeals has observed, the mere existence of Covid-19 cannot independently

justify compassionate release, “especially considering BOP's statutory role, and its

extensive and professional efforts to curtail the virus's spread.” United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020).

      Defendant has not demonstrated extraordinary and compelling reasons

warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13 &

cmt. 1. Defendant expresses concern about Covid-19 and having asthma. 2 According

to the Centers for Disease Control (CDC), those who have moderate-to-severe asthma

might be at increased risk for severe infection from coronavirus, which is distinct

from the medical conditions that the CDC confirms increase the risk of serious

illness. 3 Defendant offers no evidence that his asthma falls into the moderate-to-

severe category. Instead, the medical records describe his condition as “[a]sthma,

unspecified.” (Doc. 62-2 at 2, 42, 75). The record further indicates that his asthma is

stable and well-controlled through medication. (Id. at 1, 78). Defendant’s relatively



2    Defendant also notes that he survived a botulism infection. According to the
medical records, Defendant had a botulism infection in 2016. (Doc. 60-1 at 5).
3     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
with-medical-conditions.html.


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young age (37) further suggests that he is not at high risk of death or serious illness

should he contract coronavirus. As such, Defendant has not proven the existence of

extraordinary and compelling reasons for compassionate release. 4

      Moreover, the sentencing factors under 18 U.S.C. § 3553(a) do not support a

sentence   reduction.   Defendant’s 180-month term         of imprisonment      is the

congressionally-mandated minimum sentence for those who possess a firearm after

three or more convictions for a violent felony or a serious drug offense. See 18 U.S.C.

§ 924(e). Before the instant offense, Defendant had a prior conviction for robbery with

a firearm and armed burglary, as well as two separate convictions for the sale or

delivery of crack cocaine. (Presentence Investigation Report [PSR] at ¶¶ 5, 28, 30, 31).

Defendant was released from custody for his second sale-of-cocaine conviction on

January 26, 2008. (Id. at ¶ 31). Within months, Defendant was charged with

distributing crack cocaine (Count One) and possession of a firearm by a convicted

felon (Count Two). (Doc. 1, Indictment). The United States agreed to dismiss Count

One in exchange for Defendant’s plea of guilty to Count Two, which Defendant

accepted. (Doc. 28, Plea Agreement).

      The Court commends Defendant for making efforts at self-improvement and

maintaining bonds with his children while in prison, and the Court understands




4     The Court recognizes there is a split of authority over whether district courts
are bound by the list of extraordinary and compelling reasons contained in U.S.S.G.
§ 1B1.13, cmt. 1(A)-(C). See United States v. Brooker, — F.3d —, No. 19–3218–CR
(2d Cir. Sept. 25, 2020), Slip Op. at 12. The Court’s decision does not depend on the
resolution of that issue because it would reach the same conclusion if it had
independent authority to identify extraordinary and compelling reasons.


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Defendant’s concern about Covid-19. However, Defendant is young, relatively

healthy, and his asthma appears to be stable. In view of all the circumstances,

reducing Defendant’s sentence at this time would not be consistent with the statutory

purposes of sentencing or the Sentencing Commission’s policy statements.

Accordingly, Defendant Derrek Owens’s Motion for Compassionate Release (Doc. 60)

is DENIED. 5

        DONE AND ORDERED at Jacksonville, Florida this 2nd day of November,

2020.




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Copies:
Counsel of record
Defendant




5      To the extent Defendant requests that the Court order home confinement, the
Court cannot grant that request because the Attorney General has exclusive
jurisdiction to decide which prisoners to place in the home confinement program. See
United States v. Alvarez, No. 19-cr-20343-BLOOM, 2020 WL 2572519, at *2 (S.D.
Fla. May 21, 2020); United States v. Calderon, 801 F. App’x 730, 731-32 (11th Cir.
2020) (a district court lacks jurisdiction to grant a request for home confinement
under the Second Chance Act).


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